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                                  UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF CONNECTICUT


    DEBORAH LAUFER,                                                  CIVIL ACTION
                                                                     No. 3:20-cv-00941-RNC
                                        Plaintiff,

                          - against –

NATRUM ASSOCIATES                                                    NOVEMBER 2, 2020

                                        Defendant.

                    DEFENDANT’S OBJECTION TO PLAINTIFF’S MOTION FOR
                   ADMISSION PRO HAC VICE OF ATTORNEY THOMAS BACON
               Defendant, Natrum Associates, hereby objects to Plaintiff‘s Motion for Admission Pro Hac

Vice of Attorney Thomas Bacon. See Dkt. No. 26. The motion should be denied because Plaintiff

has failed to show good cause for Attorney Bacon to be admitted as a visiting attorney in this case.

In fact, Attorney Bacon has a documented history in the state of Florida of bringing questionable

Americans with Disabilities Act (“ADA”) lawsuits against businesses in that state.1 Moreover, as

noted in Attorney Bacon’s affidavit accompanying Plaintiff’s motion, he was admonished by the

Middle District of Florida, Orlando Division, related to litigation involving the ADA.2 According

to the Court, it identified three areas of concern related to the litigation: (1) the repeated failure to

comply with the Federal Rules of Civil Procedure, the Local Rules, and the Court’s orders; (2) the

filing of deficient pleadings and substantive motions; and (3) the use of ADA experts. Id. at *1.

               As it specifically related to Attorney Bacon, the Court found, inter alia, that he “…

repeatedly failed to comply with the Federal Rules of Civil Procedure, the Local Rules, and the

Court’s orders” and “… served as a supervising attorney and, as such, was (and remains)

responsible for ensuring that the attorneys he supervised complied with the Federal Rules of Civil

Procedure, the Local Rules, and the Court’s orders…[and] fell short in meeting this responsibility

1
  See South Florida leads nations in controversial disability lawsuits, Sun Sentinel, January 11, 2014; 16 Florida
lawyers face wrath of Orlando judges over ‘vague, boilerplate’ ADA lawsuits, Orlando Sentinel, May 18, 2018 attached
hereto as Exhibit A.
2
 A copy of the Court’s order in In Re: ADA Cases, Case No. 6:18-mc-14-Orl-31DCI, 2018 WL 6620603 (November
13, 2018) is attached as Exhibit B.
{B0860921.1}                                            1
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…” Id. at *5. Further, the Court found that “a fair number of negative orders were entered due to

deficient pleadings and briefing.” Id. at 10. According to the May 18, 2018, Orlando Sentinel

news article, Attorney Bacon had sixty-one (61) negative orders entered against him.

               In the present matter, Defendant argues that Plaintiff does not have a basis to bring her ADA

lawsuit and has pursued dispositive motion practice arguing the same. See Dkt. Nos. 13, 17, 22,

23, 24. Based on the nature of Plaintiff’s lawsuit and Attorney Bacon’s documented history related

to ADA claims, Defendant contends that Plaintiff has failed to show good cause to admit Attorney

Bacon as a visiting attorney in this case.

               WHEREFORE, Defendant, Natrum Associates, respectfully requests that the Court deny

Plaintiff’s Motion for Admission Pro Hac Vice of Attorney Thomas Bacon.



                                                 Respectfully submitted,
                                                 By: _/s/ Thomas H. Houlihan, Jr.
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                                                     Thomas H. Houlihan, Jr.
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                                        CERTIFICATE OF SERVICE

               I hereby certify that on November 2, 2020, a copy of the foregoing Objection to Plaintiff’s

Motion for Admission Pro Hac Vice was filed electronically and served by mail on anyone unable

to accept electronic filing. Notice of this filing will be sent by e-mail to all parties by operation of

the Court’s electronic filing system or by mail to anyone unable to accept electronic filing as

indicated on the Notice of Electronic Filing. Parties may access this filing through the Court’s

CM/ECF System.

                                          /s/ Thomas H. Houlihan, Jr.




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